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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                         2014       MR 25 PM   2:      07
                                 DEL RIO DIVISION                                               IidUi       1
                                                                                   I   I:P
                                                                                       US.    ULERS   OFFICE
 JAVIER GAL VAN, BALDEMAR                       §
 MARTINEZ, and JESSE SALINAS,                   §                                                       rEP'JTv
     Plaintiffs,                                §
                                                §
 v.                                             §      CIVIL ACTION NO.
                                                §      DR-08-CV-035-AM/VRG
 RATHMANN & O'BRIEN, LLC,                       §
 DENNIS T. RATHMANN and                         §
 M. MATTHEW DRIEESEN,                           §
     Defendants.                                §

                     JUDGMENT OF DISMISSAL WITH PREJUDICE

       On March 24, 2014, the parties filed a joint agreed motion for dismissal with prejudice that

complies with the requirements of Federal Rule of Civil Procedure 41 (a)(2) and requests the entry

ofajudgment of dismissal with prejudice. The motion to dismiss [ECF No. 110] is GRANTED as

follows:

       It is hereby ORDERED, ADJUDGED, and DECREED that all of the claims and causes

of action asserted herein by Plaintiffs Javier Galvan, Baldemar Martinez and Jesse Salinas and

Defendants Rathmann & O'Brien, LLC, Dennis T. Rathmann and M. Matthew Dressen are fully and

finally DISMISSED WITH PREJUDICE as requested in the parties' joint motion for dismissal.

IT IS FURTHER ORDERED that each party shall bear its own costs of suit. All relief not

expressly granted herein is DENIED and all pending motions [ECF Nos. 78, 79, 80, 82, 101, and

103] are DENIED as moot. This is a FINAL ORDER that fully disposes                of all claims and

controversies asserted by all parties in this suit by dismissing them with prejudice.
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A Clerk's Judgment shall immediately issue.

       SIGNED this   2$äay of March, 2014.


                                                     /;'4ff
                                                  ALIA MOSES
                                                  UNITED STATES DISTRICT JUDGE




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